         Case 1:23-cv-03621-SCJ Document 21 Filed 08/22/23 Page 1 of 2


                                                                              FILED IN CLERK'S OFFICE
                                                                                      U.S.D.C. -Atlanta


                  IN THE UNITED STATES DISTRICT COURT   AUG 2 2 2023
                 FOR THE NORTHERN DISTRICT OF GEORGIA             _
                           ATLANTA DIVISION           KE'f'I'.~ · VjEIMER, Clerk
                                                                             By:   l.,/ ~     Deputy 9erk


IN RE USE OF CELLULAR TELEPHONES
AND ELECTRONIC EQUIPMENT ON                                    ADMINSTRATIVE ORDER
THE 19TH FLOOR OF THE RICHARD B.                                           NO. 23-03
RUSSELL BUILDING ON AUGUST 28, 2023

                                          ORDER

       Following consultation with the United States Marshals Service and

pursuant to Local Rule 83.4(B), NDGa. (concerning special orders for widely

publicized and sensational cases), the Court hereby deems it proper and so

ORDERS that all cellular phones and other electronic devices with cameras or

other recording technology are prohibited on the 19th floor of the Richard B.

Russell Federal Building and United States Courthouse on August 28, 2023. 1 It is
                                                       .:.'l

further ORDERED that the penalty for knowinior willful violation of this Order

includes punishment for contempt of court pursuant to 18 U.S.C. § 401.

       IT IS SO ORDERED this


                                           HON. TIMOTHY C. BATTEN, SR.
                                           CHIEF U.S. DISTRICT JUDGE



1 The following authorized officials are excepted from this Order: the United States
Marshal and his deputies and staff; the chambers staff and courtroom deputies of the
Honorable Steve C. Jones, the Honorable Mark H . Cohen, the Honorable Michael L.
Brown, and the Honorable J.P. Boulee; the Clerk of Court and his chief deputies; court
reporters with offices or proceedings on the 19th floor; the Court's IT staff; and the Court's
facilities management staff.
       Case 1:23-cv-03621-SCJ Document 21 Filed 08/22/23 Page 2 of 2




cc:  All Northern District of Georgia Judges, Bankruptcy Judges, and
Magistrate Judges
     United States Marshal
     United States Attorney
     Federal Public Defender
     Clerk of Court/ District Court Executive
     Clerk, Bankruptcy Court
     Chief Probation Officer




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